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UNITED STATES DISTRICT COURT | DOCUMENT -
SOUTHERN DISTRICT OF NEW YORK i | BLECTRONICALLY FELED))
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E, JEAN CARROLL, | DATE FILED:_[7 [3-202 |
Plaintiff,
-against- 22-cv-10016 (LAK)

DONALD J. TRUMP,

Defendant.

ORDER UNSEALING FILED PORTION OF DEFENDANT’S DEPOSITION

LEWIS A. KAPLAN, District Judge.

The defendant asks that the Court seal (actually keep sealed) under the Protective
Order (Dkt 18) the portion of the transcript of his deposition that he designated as Confidential and
that therefore was filed under seal as Exhibit B to the Proposed Case Management Plan (Dkt 16).
His arguments for doing so are entirely baseless.

1. Defendant first contends that he reasonably relied upon the confidentiality of
his testimony. That is flatly inconsistent with the Protective Order and with this Court’s published
Individual Practices. The protective order itself states that “[n]otwithstanding the designation of
material as ‘Confidential’ in discovery, there is no presumption that such Confidential Discovery
Material will be filed under seal.” The latter state that “[t|he fact that information is subject to a
confidentiality agreement between litigants is not, by itself, a valid basis to overcome the
presumption of access to judicial documents.”

2. Contrary to defendant’s argument, the transcript portion that was filed was
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directly relevant to resolution of parties’ disagreements concerning the scope of appropriate
discovery in this case, in light of the discovery already taken in Carroll v. Trump, No. 20-7311
(LAK), and the substance of the scheduling order, both for the reasons set forth in plaintiff's letter
opposing defendant’s present request (Dkt 37, at 2). They are appropriately released because,
among other things, they are relevant to understanding the basis for the Court’s rulings on those
controverted matters.

In view of the foregoing, it is unnecessary for the Court to determine whether, as
plaintiff suggests, the substance of the excerpt from defendant’s deposition was properly designed
as Confidential by defendant given paragraph 2 of the Protective Order (Dkt 18).

Accordingly, defendant’s application (Dkt 36) is denied. The Clerk shall make the
entirety of Dkt 16 available for unrestricted public access.

SO ORDERED.

Dated: January 13, 2023 AL

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